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LENARD E. SCHWARTZER
2850 S. Jones Blvd., Ste 1

Las Vegas, NV 89146

(702) 307-2022

TRUSTEE
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
In re Case No. BK-S 22-11549-MKN
CHARLES RANDALL LAZER, IN PROCEEDINGS UNDER CHAPTER 7

EX-PARTE APPLICATION TO EMPLOY
RANDAZZA LEGAL GROUP, PLLC AS
SPECIAL COUNSEL ON A CONTINGENT
FEE BASIS UNDER 11 U.S.C. § § 327(e) and
328(a)

Debtor

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LENARD E. SCHWARTZER, Chapter 7 Trustee (the "Trustee"), brings this application to
employ RANDAZZA LEGAL GROUP, PLLC. ("Attorneys") as Special Counsel on a contingent fee
basis.

This Application is based on the attached Points and Authorities, the Declaration of
RONALD D. GREEN, ESQ. filed concurrently with this application.

POINTS AND AUTHORITIES
Facts

1. Debtor filed for relief under Chapter 7 of the Bankruptcy Code on_May 2, 2022 and
LENARD E. SCHWARTZER is the duly appointed and acting trustee herein.

2. The Trustee has determined that the assets of the estate include a series of claims (referred
to collectively as the "Claims") that will need to be investigated, developed, and pursued, including
but not limited to the following

(a) Fraudulent transfer claims; and

 
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(b) Legal malpractice claims against attorneys Adam Trippiedi and Michael F. Bohn
sand their respective law firms.

3. The Trustee desires to employ Attorneys on a contingency fee basis, pursuant to a Special
Litigation Counsel Agreement (the "Agreement"), attached hereto as Exhibit "1” and incorporated
herein by reference. The Agreement provides, in part, for attorneys' fees as follows:

(1) 33% for any recovery prior to filing a complaint;
(2) 40% of any recovery after filing a complaint; or
(3) 50% of any recovery after any appeal, plus reasonable costs incurred.

4, Based upon the accompanying Declaration of RONALD D. GREEN, ESQ., and
notwithstanding the provision in the Agreement (Exhibit "1"), Attorneys shall turnover to the Trustee
all funds collected in the Claims

5. The Trustee proposes that the compensation for the services of Attorneys be on a
contingency fee basis, subject to final application and approval by this Court pursuant to Sections
330 and 331 of the Bankruptcy Code.

6. The professional service rendered by Attorneys will be limited to representation in the
fraudulent transfer and legal malpractice litigation.

7. Attorneys employ attorneys admitted to practice in all Courts necessary to litigate this
matter.

8. To the best of the Trustee's knowledge, based upon the accompanying Declaration of
RONALD D. GREEN, ESQ., all professionals and employees comprising or employed by
RANDAZZA LEGAL GROUP, PLLC. do not represent or hold any interest adverse to the debtor or
to the estate or with their attorneys or accountants, or with any judge of the United States Bankruptcy
Court for the District of Nevada, the United States Trustee, or any person employed in the Office of
the U.S. Trustee with respect to the matter on which such attorney will be employed.

9. The Trustee believes, and Attorneys will strive to insure, that the Attorney's employment
will not be duplicative or overlapping of the work performed by the Trustee. Attorneys duties will
be limited to prosecution of the Litigation on behalf of the estate.

10. Trustee believes that it would be in the best interests of the estate and the creditors that

 
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he be allowed to employ Attorneys as special counsel on a contingency fee basis.
Memorandum of Law
11 U.S.C. § 327(a) provides that a trustee may employ attorneys” that do not hold or
represent an interest to the estate, and that are disinterested person," to represent and assist the trustee
in carrying out the trustee's duties. A trustee may also, with approval of the court, employ an attorney
for a "specified special purpose...if in the best interest of the estate, and if such attorney does not
represent or hold any interest adverse to the debtor or to the estate with the respect to the matter on

which such attorney is to be employed." 11 U.S.C. § 327(e).

11 U.S.C. § 328(a) provides:

The trustee, or a committee appointed under section 1102 of this title, with the court's
approval, may employ or authorize the employment of a professional person under
section 327 or 1103 of this title, as the case may be, on any reasonable terms and
conditions of employment, including on a retainer, on an hourly basis, on a fixed or
percentage fee basis, or on a contingent fee basis. Notwithstanding such terms and
conditions, the court may allow compensation different from the compensation
provided under such terms and conditions after the conclusion of such employment, if
such terms and conditions prove to have been improvident in light of developments
not capable of being anticipated at the time of the fixing of such terms and
conditions.

11 U.S.C §328 permits a professional to have the terms and conditions of its employment
pre-approved by a bankruptcy court, such that the bankruptcy court may alter agreed upon
compensation only "if such terms and conditions prove to have been improvident in light of
developments not capable of being anticipated at the time of fixing such terms and conditions." In re
Circle K.Corp., 279 F.3d 669, 671 (9th Cir. 2002).

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Conclusion

Based upon the foregoing, the Trustee requests authority to employ RANDAZZA LEGAL

GROUP, PLLC. to represent the bankruptcy estate in the fraudulent transfer and malpractice

litigation on a contingency basis (plus reimbursement of reasonable costs) pursuant to the terms of

the Special Litigation Counsel Agreement (Exhibit "1"), with the payment of fees and costs subject

to final application and approval by this Court pursuant to Sections 330 and 331 of the Bankruptcy

Code.

Dated: August 16, 2022

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ENARD E. SCHWARTZE
Trustee

 

 
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Exhibit “1”

 
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SPECIAL LITIGATION COUNSEL AGREEMENT

Lenard E. Schwartzer, as Chapter 7 Trustee for the Bankruptcy Estate of Charles Randall
Lazer (the “Trustee”) and the law firm of Randazza Legal Group, PLLC (“RLG”) hereby agree
that RLG will provide legal services to the Trustee as special litigation counsel pursuant to the
terms set forth below. (RLG will be referred to hereafter as “Special Litigation Counsel”).

1. CONDITIONS: This Agreement will not take effect, and Special Litigation
Counsel will have no obligation to provide legal services, until it is approved by the United States
Bankruptcy Court (“Bankruptcy Court”). Upon satisfaction of these conditions, this Agreement
will be deemed to take effect as of the Court approval date, or such other date the Bankruptcy
Court may state.

2. SCOPE OF SERVICES AND ATTORNEY’S DUTIES: Trustee agrees to hire
Special Litigation Counsel, subject to Bankruptcy Court approval, as his Special Litigation
Counsel on a contingency fee basis to investigate, research, conduct discovery on, and prosecute
potential claims held by the Trustee and/or the bankruptcy estate of Charles Randall Lazer (the
“Bankruptcy Estate”) in Nevada State Courts, including but not limited to:

(i) Fraudulent transfer claims; and

(ii) | Legal malpractice claims against attorneys Adam Trippiedi and Michael F.
Bohn and their respective law firms.

3. SPECIAL LITIGATION COUNSEL DUTIES: Special Litigation Counsel will
provide those legal services reasonably required to represent the Trustee and will take reasonable

steps to keep the Trustee informed of progress and to respond to the Trustee’s inquiries. If a court
action is filed, Special Litigation Counsel will represent the Trustee through trial and post-trial
motions, and appeal. This Agreement does cover representation in collection proceedings after
judgment or proceedings regarding renewal of a judgment, but in the event the Trustee engages
another law firm for collection work then Special Litigation Counsel’s contingency fee will be
based on the net recovered proceeds remaining after payment of collection counsel’s fees and
costs. After consultation with Trustee, Special Litigation Counsel retain the discretion whether or
not to file any cause of action.

4. TRUSTEE DUTIES: The Trustee agrees to be truthful with Special Litigation
Counsel and not to withhold information. Further, the Trustee agrees to cooperate, to keep Special
Litigation Counsel informed of any information or developments which may come to the Trustee’s
attention, to abide by this Agreement, to seek approval from the Bankruptcy Court for this
Agreement. The Trustee will assist Special Litigation Counsel by timely providing necessary
information and documents. And agrees to appear at all legal proceedings when Special Litigation
Counsel deems it necessary, and generally to cooperate fully with Special Litigation Counsel in
all matters related to the preparation and presentation of the Trustee’s claims.

5. LEGAL FEES: Special Litigation Counsel is free to take on other professional
engagements so long as same do not interfere with the Special Litigation Counsel’s ability to
deliver competent and effective legal services to the Trustee. Special Litigation Counsel will be
compensated for its professional services on a contingency fee basis at the rates set out below.

 

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There will be no retainer. Compensation to Special Litigation Counsel wil! only be paid from funds
recovered by Special Litigation Counsel, subject to Bankruptcy Court approval pursuant to 11
U.S.C. § 330 and Federal Rule of Bankruptcy Procedure 2016.

6. CONTINGENCY FEE: In the event there is a recovery, then Special Litigation
Counsel will be entitled to the following contingency fee paid from said proceeds, subject to
Bankruptcy Court approval:

(i) 33% for any recovery prior to filing a complaint;
(ii) 40% of any recovery after filing a complaint; or
(iii) 50% of any recovery after any appeal.

7. WITHDRAW _AL AS COUNSEL: If Special Litigation Counsel withdraw or are
discharged by the Trustee from the representation governed by this contract, Special Litigation
Counsel may still apply to the Bankruptcy Court for compensation pursuant to 11 U.S.C. § 330 of
the Bankruptcy Code for the value of the work actually performed, but such application for
compensation will be at the discretion of the Bankruptcy Court. If Special Litigation Counsel are
discharged without good cause, the contractual obligation herein to pay the fee is not affected.

8. FE JECT T C URT APPROVAL: Special Litigation
Counsel understand and agree that payment of any attorney’s fees and costs pursuant to this
Agreement is subject to the prior approval of the Bankruptcy Court.

9. REPRES IONS OF COUNSEL: Special Litigation Counsel represent that
they do not represent any party with an interest in or an interest against the Bankruptcy Estate or
the Trustee except for their representation of certain creditors of the Bankruptcy Estate. Special
Litigation Counsel will ensure their representation of any creditors of the Bankruptcy Estate will
never conflict with its representation of the Trustee.

10. COSTS AND LITIGATION EXPENSES: Special Litigation Counsel will incur
various costs and expenses in performing legal services under this Agreement. Special Litigation
Counsel agrees to advance all costs, disbursements, and expenses incurred in connection with this
matter. Costs, disbursements, and litigation expenses commonly include court fees, jury fees,
service of process charges, court and deposition reporters’ fees, interpreter/translator fees, outside
photocopying and reproduction costs, notary fees, long distance telephone charges, messenger and
other delivery fees, postage, deposition costs, travel costs including parking, mileage,
transportation, meals and hotel costs, investigation expenses, consultant, expert witness,
professional mediator, arbitrator and/or special master fees and other similar items. Any such costs,
disbursements, and expenses advanced by Special Litigation Counsel will be reimbursed from any
recovery made by Special Litigation Counsel in connection with this matter from the Bankruptcy
Estate’s portion of recovery after any contingency fees are calculated. However, if no such
recovery is made, Special Litigation Counsel will receive no reimbursement for any such costs,
disbursements, and expenses. All such expense reimbursements will be subject to approval by the
Bankruptcy Court and the Trustee prior to payment.

 

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11, APPROVAL NECESSARY FOR SETTLEMENT: Special Litigation Counsel
understands it may not make any settlement or compromise of any nature of any of the claims held
by the Trustee or the Bankruptcy Estate without the Trustee and Bankruptcy Court’s prior
approval. The Trustee and the Bankruptcy Court retain the absolute right to accept or reject any
settlement. Attorney understands and agrees that any settlement is subject to the prior approval of
the Bankruptcy Court pursuant to Federal Rule of Bankruptcy Procedure 9019.

12. DISCHARGE AND WITHDRAWAL: The Trustee may discharge Special
Litigation Counsel at any time. Special Litigation Counsel may withdraw with the Trustee’s
consent or for good cause or if permitted under the Rules of Professional Conduct and/or applicable
law. Among the circumstances under which Special Litigation Counsel may withdraw are: (a) with
the consent of the Trustee; and/or (b) the Trustee’s conduct renders it unreasonably difficult for
the Special Litigation Counsel to carry out the employment effectively. Notwithstanding the
discharge and provided there is a recovery, Special Litigation Counsel may apply to the
Bankruptcy Court for compensation at a reasonable rate for all services provided and for
reimbursement of costs advanced, but any payment from the recovery will be subject to
Bankruptcy Court approval. In the event Special Litigation Counsel voluntarily withdraws from
representing the Trustee without cause, Special Litigation Counsel waives, and will not be entitled
to be paid, any future fees or costs by the Trustee after the date of withdrawal but may be entitled
to be paid for fees and reimbursed for any costs and expenses already advanced by Special
Litigation Counsel, subject to Bankruptcy Court approval.

13. CONCLUSION OF SERVICES: When Special Litigation Counsel’s services
conclude, whether by completing the services covered by this Agreement, or by discharge or
withdrawal, all unpaid charges for fees, costs and expenses will be due and payable upon
Bankruptcy Court approval. The Trustee may have access to the Trustee’s case file at Special
Litigation Counsel’s office at any reasonable time.

14. RECEIPT OF PROCEEDS: Any proceeds of the Trustee’s case will be deposited
into the Trustee’s trust account for disbursement in accordance with the provisions of this
Agreement and Bankruptcy Court order.

15. ENTIRE AGREEMENT: This Agreement contains the entire agreement of the
parties. No other agreement, statement or promise made on or before the effective date of this

Agreement will be binding on the parties.
16. MODIFICATION BY SUBSEQUENT AGREEMENT: This Agreement may be

modified by subsequent agreement of the parties only by an instrument in writing signed by both
parties and approved by the Bankruptcy Court.

17. CONFLICT OF INTEREST: Special Litigation Counsel will secure conflict
waivers from any clients they represent who ate creditors of the Bankruptcy Estate, waiving any
and all actual or potential Conflicts of Interest which may be created as a result of Special
Litigation Counsel’s execution of this Agreement and acknowledging they have had the
opportunity to consult with independent counsel.

 

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18. DISPUTES: Any dispute arising from, or related to, this Agreement shall be
submitted to the Bankruptcy Court, District of Nevada, unless otherwise agreed in writing by both
the Trustee and Special Litigation Counsel.

19. | SIGNATURES: Each party signing below is jointly and severally responsible for
all obligations due us and represents that each has full authority to execute this Agreement so that
it is binding, subject to Bankruptcy Court approval. This Agreement may be signed in one or more
counterparts and binds each party countersigning below, whether or not any other proposed
signatory ever executes it.

20. SEVERABILITY: If any provision of this Agreement or the application thereof is
held invalid or unenforceable, the invalidity or unenforceability shall not impact other provisions
or applications of this Agreement which can be given effect without such provisions or application,
and to this end the provisions of this Agreement are declared to be servable.

   
 

CHAPTER ATRUSTEE RANDAZZA LEGAL UP, PLLC

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Lenard E. Schwartzer Ronald D. mS
Chapter 7 Trustee for the
Bankruptcy Estate of Charles Randall Lazer Dated: \2 Pvas ore

Dated: £ 1 x /; Lee

 

 

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